In a petition for rehearing plaintiff says this court has overlooked three important features: that the Workmen's Compensation Law is for the benefit of the employee; the case of Bordson v. North *Page 495 
Dakota Workmen's Comp. Bureau, 49 N.D. 534, 191 N.W. 839, practically reversing it; and that the appeal to the district court taken by the plaintiff from the decision of the bureau is on a matter which goes "to the basis of his right."
We hold that the law is primarily for the benefit of employees and the plaintiff is entitled to share in the fund.
The principle of the Bordson Case is followed. In this case the bureau had refused to consider plaintiff's claim on the ground that at the time of the accident he was not covered by insurance because the employer was in default in payment of premiums. Before the bureau passed upon the claim the premium in default was paid but the bureau applied this payment on future insurance and not to cover the time intervening between default and payment. This court held in effect that the payment related back to the expiration of the time covered by the previous payment and that it was the duty of the bureau to pass upon the claim. This is our holding here. The employer was in default in the payment of premiums, but, differing from the Bordson Case, had not cured the default at the time the bureau passed upon the claim. When the default was cured the bureau, following the Bordson Case, attempted to pass upon the claim. In the meantime the appeal had been taken. Our holding here is strictly in accordance with the Bordson Case — that is, that the default in the payment of the premium having been cured it was the province of the bureau to pass upon the claim.
Plaintiff objects to the holding in this case that the district court should have dismissed the appeal, and says that his appeal was on a matter which went to the basis of his right. The bases of his right are that he was an employee, the injury was not self-inflicted, and he was injured in the course of his employment. None of these basal facts is disputed. The board in effect found he was an employee, the injury was not self-inflicted, and was received in the course of his employment. On all other matters the decision of the bureau is final. He was insured but could not participate in the fund until the default in payment on premiums was cured. That is not a matter which goes to the basis of his right, but affects the time when his application will be heard. Hence there was no ground for appeal. Our holding is *Page 496 
that the plaintiff is insured, has a right to share in the fund and it is the duty of the bureau to fix the compensation.
NUESSLE, Ch. J., and CHRISTIANSON, BURKE, and BIRDZELL, JJ., concur.